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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



 BRG HARRISON LOFTS URBAN RENEWAL LLC,
                                                                   Civil Action No: 2:16-06577
                        Plaintiff,
                                                                          (SRC/CLW)
                   v.

 GENERAL ELECTRIC COMPANY,
 ENVIRONMENTAL WASTE MANAGEMENT
 ASSOCIATES, LLC and ACCREDITED                                    STIPULATION AND
 ENVIRONMENTAL TECHNOLOGIES, INC.,                                ORDER OF DISMISSAL
                                                                   WITH PREJUDICE
                   Defendants.
  ________________________________________

 ACCREDITED ENVIRONMENTAL
 TECHNOLOGIES, INC.,
                        Third-Party Plaintiff,

                   v.

 FIELD ENVIRONMENTAL INSTRUMENTS, INC. and
 ARIZONA INSTRUMENT LLC,
                    Third-Party Defendants,
  ________________________________________

 ENVIRONMENTAL WASTE MANAGEMENT
 ASSOCIATES, LLC,
                        Third-Party Plaintiff,

                   v.

 LANGAN ENGINEERING AND ENVIRONMENTAL
 SERVICES, INC.; JOHN WOOD GROUP PLC as
 successor in interest to AMEC PLC,
                        Third-Party Defendants,



         Plaintiff BRG Harrison Lofts Urban Renewal LLC (“BRG”) and Defendant General

 Electric Company (“GE”), by and through their respective counsel, stipulate and agree to


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 dismissal of all claims and counterclaims as between BRG and GE, with prejudice, in accordance

 with the parties’ Settlement Agreement and Release. BRG and GE shall each bear their own

 respective attorneys’ fees and costs.



 Dated: December 18, 2020

 STIPULATED AND AGREED:

 CHIESA SHAHINIAN & GIANTOMASI PC                   McCARTER & ENGLISH, LLP

 /s/ Dennis M. Toft                                 /s/ Cynthia S. Betz
 Dennis M. Toft                                     Ira Gottlieb
 One Boland Drive                                   Cynthia S. Betz
 West Orange, NJ 07052                              Four Gateway Center
                                                    100 Mulberry Street
 SIVE, PAGET & RIESEL, P.C.                         Newark, New Jersey 07102
 Mark A. Chertok
 Margaret C. MacDonald                              Attorneys for General Electric Company
 460 Park Avenue
 New York, New York 10022

 Attorneys for BRG Harrison Lofts Urban
 Renewal LLC



                                                                 21 day of December 2020:
                                                SO ORDERED this ___


                                                      s/ Stanley R. Chesler

                                                              Hon. Stanley R. Chesler, U.S.D.J.




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